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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

AGROFRESH INC.,                                   )
                                                  )
                       Plaintiff,                 )
                                                  )
               v.                                 ) C.A. No. 16-662-MN
                                                  )
MIRTECH, INC., NAZIR MIR, ESSENTIV                )
LLC, DECCO U.S. POST-HARVEST, INC.,               )
CEREXAGRI, INC. d/b/a DECCO POST-                 )
HARVEST, and UPL, LTD.,                           )
                                                  )
                       Defendants.                )

            PLAINTIFF AGROFRESH INC.’S MOTION FOR REARGUMENT

       The Court’s Memorandum Order (D.I. 467) granting Defendants’ motion to stay notes

that “[t]his case presents a difficult question of how the Court should exercise its discretion.”

(D.I. 467 at 5.) The Court goes on to weigh the potential simplification of issues against the

advanced stage of the proceedings. The Court also concluded that there was a “lack of emergent,

non-quantifiable, or noncompensable prejudice to Plaintiff.” (Id.) On this last point, AgroFresh

respectfully moves for reargument and reconsideration because of the great harm to AgroFresh if

its pending assignor estoppel motion is not decided now, before a final judgment by the Federal

Circuit on the validity of the ‘216 patent. AgroFresh believes that this prejudice should tip the

scales on this “difficult question” toward denial of Defendants’ motion to stay the ‘216 patent

portion of this case (D.I. 435.). At the least, AgroFresh respectfully requests that the Court delay

the stay until after a decision on AgroFresh’s motion for summary judgment on assignor

estoppel.

I.     LEGAL STANDARD

       To succeed on a motion for reconsideration, a party must demonstrate one of the

following: “(1) an intervening change in the controlling law; (2) the availability of new evidence
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that was not available when the court [issued its order]; or (3) the need to correct a clear error of

law or fact or to prevent manifest injustice.” Max’s Seafood Cafe ex rel. Lou-Ann, Inc. v.

Quinteros, 176 F.3d 669, 677 (3d Cir. 1999).

II.    ARGUMENT

       AgroFresh respectfully submits that the Court did not appreciate the significance of the

prejudice to AgroFresh if its assignor estoppel motion is not decided now, evidenced by the fact

that this central argument from AgroFresh’s opposition brief was not mentioned in the Court’s

Memorandum Order. Taking this prejudice into account, AgroFresh submits that the Court

should reconsider its decision and exercise its discretion to deny Defendants’ motion to stay.

       AgroFresh argued in its response that granting Defendants’ motion to stay would

prejudice AgroFresh by potentially permanently depriving it of the right to litigate its assignor

estoppel defense. (D.I. 442 at 1 and 8.) If the Federal Circuit affirms the PTAB’s Final Written

Decision, AgroFresh’s assignor estoppel defense is permanently lost, even though AgroFresh

timely raised it in this litigation and could not raise it before the PTAB.          This denial of

AgroFresh’s ability to assert the assignor estoppel defense would result in enormous prejudice to

AgroFresh. Conversely, the stay gives Defendants’ a “clear tactical advantage” – weighing

against a stay – by greatly increasing the odds the appeal from the IPR will be resolved before

any any decision on assignor estoppel in this case. E.g., Belden Techs. Inc. v. Superior Essex

Commc’ns LP, No. CIV. 08-63-SLR, 2010 WL 3522327, at *2 (D. Del. Sept. 2, 2010) (giving

moving party clear tactical advantage weighs against stay).

       In Fresenius USA, Inc. v. Baxter Int’l, Inc., 721 F.3d 1330 (Fed. Cir. 2013), the court

considered whether a final judicial determination of no invalidity would have preclusive effect




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over a Patent Office determination of invalidity in a reexamination. In that connection, the court

wrote:

    Baxter is correct that under “well-established principles of res judicata,” the
    cancellation of a patent's claims cannot be used to reopen a final damages judgment
    ending a suit based on those claims. As the Supreme Court's decision in Moffitt [v.
    Garr, 66 U.S. 273 (1861)] made clear, “[i]t is a mistake to suppose ... that ... moneys
    recovered on judgments in suits ... might be recovered back [after a patent is
    cancelled]. The title to these moneys does not depend upon the patent, but upon ... the
    judgment of the court.” 66 U.S. at 283; see also In re Swanson, 540 F.3d at 1379 n. 5
    (observing that “an attempt to reopen a final federal court judgment of infringement
    on the basis of a reexamination finding of invalidity might raise constitutional
    problems”). Fresenius does not argue otherwise.

Id. at 1340 (certain citations and footnote omitted; bracketed material added); see also

WesternGeco L.L.C. v. ION Geophysical Corp., 913 F.3d 1067, 1071 (Fed. Cir. 2019) (“But

Fresenius made clear that it does not allow reopening of a satisfied and unappealable final

judgment.”). This case is set for trial in October. If there is no stay, AgroFresh prevails on its

‘216 patent claim, and a final judgment enters, then this judgment would have preclusive effect

and could not be undone by Defendants’ IPR.

         When Judge Fallon granted leave for AgroFresh to file its assignor estoppel motion, she

did so in part because she recognized the potential effect of an assignor estoppel ruling in

AgroFresh’s favor. She found that “if the Court determines that assignor estoppel extends to

UPL in this instance, UPL’s validity challenges in the IPR proceeding would be nullified due to

the estoppel effect of the doctrine.” (D.I. 310 at 9.) If the assignor estoppel motion is denied

without prejudice because the ‘216 patent portion of this case is stayed, the nullifying effect of

the estoppel likely will be lost.

         Without a ruling on AgroFresh’s assignor estoppel motion, AgroFresh will not have the

opportunity to stop Defendants’ attempt to invalidate the ‘216 patent, the same patent

Defendants, through their privy, Dr. Mir, procured and assigned to AgroFresh. Thus, Defendants



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will be able to benefit from their misconduct by disclosing AgroFresh’s technology to the world,

procuring a patent on it, and then destroying the patent after the Court determined AgroFresh

owned it. This inequitable result will severely prejudice AgroFresh. AgroFresh asks the Court

to consider this prejudice and reconsider its ruling.

       Indeed, the repercussions of the order granting a stay will extend beyond this case. If

stays are routinely granted when assignor estoppel is at issue, parties have an avenue to

permanently avoid an assignor estoppel defense through the expedient of a PTAB proceeding.

The protections of the doctrine will be eviscerated and the incentives for honest dealing by

assignors will be diminished.

III.   CONCLUSION

       For the foregoing reasons and each of them, AgroFresh respectfully requests that the

Court reconsider its order granting Defendants’ motion to stay and its Order denying

AgroFresh’s motion for summary judgment on assignor estoppel without prejudice.


Dated: June 14, 2019                               BARNES & THORNBURG LLP


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